Case 1:03-cr-10037-.]DT Document 38 Filed 06/27/05 Page 1 of 6 Page|D 38!1/2((`
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UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE
MEMPH|S DlVlSlON

UN|TED STATES OF AMER|CA

-v- 03-10037-01-T

 

LANCE CA|N
M. Dianne Smothers, FPD
Defense Attorney
109 South High|and Ave., Ste. B-8
Jackson, TN 38301

 

JUDGMENT lN A CR|MINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 and 2 of the indictment on February 23, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title a section the_m_e Qo_rwtgq_e_ct Mt§t
21 U.S.C. § 841(3)(1) Distribution of Cocaine Base 04/08/2002 1
21 U.S.C. § 841(a)(1) Distribution of Cocaine Base 04/12/2002 2

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996

Count(s) 3 and 4 dismissed on the motion of the United States.

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence1 or mailing address until all fmes, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/04/1967 June 23, 2005
Deft’s U.S. |Vlarshal No.: 07524»089

Defendant’s I\/|ai|ing Address:
4885 North 21st Street
Mi|waukee, W| 53209

 

Thls document entered on the docket sheet In compliance

with Rute 55 and/or32(b) FRCrP on -"j Ul ' 2d 05 June 2 ? , 2005

Case 1:03-cr-10037-.]DT Document 38 Filed 06/27/05 Page 2 of 6 Page|D 39

Case No: 1:03cr10037-01-T Defendant Name: Lance Cain Page 2 of 5
lMPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 51 Nlonths as to each of Counts 1 and 2 of the

|ndictment, to run concurrent|y.

The Court recommends to the Bureau of Prisons: |nstitution where defendant can
receive drug treatment and drug counseting and as close to l\/|ilwaukee, W| as possible

The defendant is remanded to the custody of the United States N|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES |VIARS|-|AL
By:

 

Deputy U.S. l\/larsha|

Case 1:03-cr-10037-.]DT Document 38 Filed 06/27/05 Page 3 of 6 Page|D 40

Case No: 1:03cr10037-01-T Defendant Name: Lance Cain F’age 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years as to each of Counts 1 and 2, to run concurrentlyl

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVISION

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation ofhcer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthqu a|| inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, cr other acceptabie reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

Case 1:03-cr-10037-.]DT Document 38 Filed 06/27/05 Page 4 of 6 Page|D 41

Case No: 1103cr10037-01~T Defendant Name: Lance Cain Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation ocher to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment

ADDlTlONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and/or alcohol abuse as directed by the United States Probation Officer, until such time as
the defendant is released from the program by the United States Probation Officer,

2. The defendant shall assist the United States Probation Officer in the collection of DNA as
directed

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$200.00

Case 1:03-cr-10037-.]DT Document 38 Filed 06/27/05 Page 5 of 6 Page|D 42

Case No: 1:03cr10037-01-T Defendant Name: Lance Cain Page 5 of 5

The Specia| Assessment shall be due immediately
FlNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 1:03-CR-10037 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Honorable J ames Todd
US DlSTRlCT COURT

